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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

EDELSON PC,

Case No. 1:16-cv-11057
Plaintiff,

v.
THE BANDAS LAW FIRM PC, et al

Defendants.

 

 

FINAL JUDGMENT ORDER
IT IS HEREBY ADJUDGED and DECREED that final judgment is entered in this
matter on Count V of Plaintiff Edelson PC’s complaint in favor of Plaintiff and against
Christopher Bandas and the Bandas Law Firm PC (“Defendants”).
1. REASONS FOR ISSUANCE OF INJUNCTION
Defendants do not dispute that that they engaged in the unauthorized practice of
law in Clark v. Gannett Co., Inc. Defendants further do not dispute that they engaged
in the following conduct without obtaining authorization from the Illinois Supreme Court
to practice law in Illinois: agreeing to represent Gary Stewart in the Gannett litigation,
drafting the objection of Stewart in Gannett, providing legal advice to Stewart related
to Gannett, contacting and arranging for C. Jeffrey Thut to appear in Defendants’
stead in Gannett, allowing C. Jeffrey Thut to assist Defendants in the unauthorized
practice of law, representing Stewart in discussions with class counsel regarding
Stewart's objection, entering into negotiations with class counsel in Gannett on behalf

of Stewart, and agreeing to resolve Stewart's objection in exchange for $225,000 in
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attorneys’ fees with no changes to the settlement agreement. Accordingly, the Court
finds that issuance of a permanent injunction against Defendants is appropriate.
ll. ACTS RESTRAINED OR REQUIRED

Defendants The Bandas Law Firm, P.C. and Christopher A. Bandas are hereby

restrained and permanently enjoined from engaging in the following actions:

1. Providing any advice or other service requiring the use of any degree of
legal skill or knowledge related to any state or federal court proceedings in the State of
lilinois, regardless of whether Defendants or their clients are physically located within
the State of Illinois, without obtaining admission to the bar of Illinois or leave to appear
pro hac vice from the court before which the proceeding is pending. The restrained
advice and services include but are not limited to providing legal advice, acting as
general counsel, drafting documents, negotiating, or accepting payment of attorneys’
fees.

2. Soliciting attorneys located in the State of Illinois to sign pleadings or
other documents drafted by Defendants in a case where Defendants do not appear;

3. Paying, or offering to pay, or to loan any client any monies in connection
with any class action objection unless such payment is awarded or expressly approved
by a court;

4. Seeking admission, pro hac vice or otherwise, to practice in any state or
federal court without fully and truthfully responding to all questions on the application
and without attaching a copy of this judgment;

5. Defendants shall not file or cause to be filed any objection to any

proposed class action settlement in any state or federal court unless:
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a. Such objection states whether it applies only to the objector, to a
specific subset of the class, or to the entire class, and also states with specificity the
grounds for the objection; and

b. Any payment in connection with the objection is disclosed and
approved by the court and, unless approved by the court after a hearing, no payment
or other consideration is provided in connection with forgoing or withdrawing the
objection or forgoing dismissing, or abandoning an appeal from a judgment approving
the proposal:

6. Defendants, having consulted with their clients, shall immediately and
unconditionally withdraw objections and filings related thereto any and all objections
now pending in Illinois state and federal courts, including Clark v. Gannett Co., Inc.
Defendants shall have no further direct or indirect involvement in those matters, and
Defendants shall accept no compensation of any kind related to those matters.

Ul. CONTINUING JURISDICTION
Without affecting the finality of this judgment, the Court retains jurisdiction to
enforce the injunction set forth herein.
IV. COSTS
Defendants shall pay Plaintiff's costs in the amount of $5,447.65.
V. NO JUST REASON FOR DELAY
The Court finds pursuant to Rule 54(b) that is no just reason for delay of entry of

this judgment.
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IT IS SO ORDERED.

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MECCARCPALIME R
United States District J

JUDGMENT ENTERED: __- Secon ‘(2019

 

CLERK, U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS
